          Case 8:21-cr-00124-JLS Document 1 Filed 07/07/21 Page 1 of 8 Page ID #:1


                                                                  07/07/2021
 1
                                                                      DVE

 2

 3

 4

 5

 6

 7

 8                              UNITED STATES DISTRICT COURT

 9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                    SOUTHERN DIVISION

11                                  April 2021 Grand Jury

12   UNITED STATES OF AMERICA,                   No. 8:21-cr-00124-JLS

13                Plaintiff,                     I N D I C T M E N T

14                v.                             [18 U.S.C. § 1343: Wire Fraud; 18
                                                 U.S.C. § 1957: Laundering Monetary
15   CHRISTOPHER JOHN BADSEY,                    Instruments; 18 U.S.C. §§ 981 and
                                                 982 and 28 U.S.C. § 2461(c):
16                Defendant.                     Criminal Forfeiture]
17

18

19           The Grand Jury charges:
20                                COUNTS ONE THROUGH FOUR
21                               [18 U.S.C. §§ 1343, 2(a)]
22   A.      THE SCHEME TO DEFRAUD
23           1.    Beginning on an unknown date, but no later than in or
24   around June 2020, and continuing through at least in or around July
25   2020, in Orange and Los Angeles Counties, within the Central District
26   of California, and elsewhere, defendant CHRISTOPHER JOHN BADSEY,
27   together with Co-Schemer 1 and others known and unknown to the Grand
28   Jury, each aiding and abetting the other, knowingly and with the
       Case 8:21-cr-00124-JLS Document 1 Filed 07/07/21 Page 2 of 8 Page ID #:2



 1   intent to defraud, devised, participated in, and executed a scheme to

 2   defraud Victim Companies 1, 2, and 3 as to material matters, and to

 3   obtain money and property from Victim Companies 1, 2, and 3 by means

 4   of material false and fraudulent pretenses, representations, and

 5   promises, and the concealment of material facts.

 6        2.    The scheme to defraud operated, in substance, as follows:

 7              a.    Defendant BADSEY would falsely represent to Victim

 8   Companies 1, 2, and 3 that he had access to millions of boxes of

 9   medical-grade nitrile gloves, personal protective equipment that was

10   in high demand and short supply during the COVID-19 pandemic.

11              b.    Through the company that he owned and controlled,

12   First Defense International Security Services Corporation (“FDI”),

13   defendant BADSEY would enter into contractual agreements with

14   representatives from Victim Companies 1, 2, and 3 to sell them

15   millions of boxes of medical-grade nitrile gloves.

16              c.    Defendant BADSEY would tell Victim Companies 1, 2, and

17   3 that before the sales were completed, Victim Companies 1, 2, and 3

18   were required to pay deposits upwards of $1 million to FDI in order

19   to inspect the gloves at a warehouse in Los Angeles, when, in fact,

20   defendant BADSEY did not have any gloves stored in any warehouse.

21              d.    Defendant BADSEY would instruct representatives of

22   Victim Companies 1, 2, and 3 to transmit the deposits by wire

23   transfer to bank accounts controlled by defendant BADSEY, Co-Schemer

24   1, and/or FDI.

25              e.    Through the scheme, defendant BADSEY fraudulently

26   obtained a total of at least $1,174,990 of Victim Company 1’s monies,

27   $1,057,000 of Victim Company 2’s monies, and $1,000,000 of Victim

28   Company 3’s monies.

                                             2
Case 8:21-cr-00124-JLS Document 1 Filed 07/07/21 Page 3 of 8 Page ID #:3
       Case 8:21-cr-00124-JLS Document 1 Filed 07/07/21 Page 4 of 8 Page ID #:4



 1                                     COUNT FIVE

 2                                [18 U.S.C. § 1957]

 3        On or about June 17, 2020, in Orange County, within the Central

 4   District of California, defendant CHRISTOPHER JOHN BADSEY knowingly

 5   engaged in a monetary transaction of a value greater than $10,000,

 6   involving funds he knew to be criminally derived property, which

 7   property, in fact, was derived from specified unlawful activity, that

 8   is, wire fraud, in violation of Title 18, United States Code, Section

 9   1343, as charged in Counts One through Four of this Indictment, by

10   sending a cashier’s check in the amount of $250,000 from a Bank of

11   America account to C.S., a resident of Louisiana.

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             4
       Case 8:21-cr-00124-JLS Document 1 Filed 07/07/21 Page 5 of 8 Page ID #:5



 1                                      COUNT SIX

 2                                [18 U.S.C. § 1957]

 3        On or about June 19, 2020, in Orange County, within the Central

 4   District of California, defendant CHRISTOPHER JOHN BADSEY knowingly

 5   engaged in a monetary transaction of a value greater than $10,000,

 6   involving funds he knew to be criminally derived property, which

 7   property, in fact, was derived from specified unlawful activity, that

 8   is, wire fraud, in violation of Title 18, United States Code, Section

 9   1343, as charged in Counts One through Four of this Indictment, by

10   purchasing a 1995 Cabo Yachts Sportfisher for $145,000, via cashier’s

11   check.

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             5
       Case 8:21-cr-00124-JLS Document 1 Filed 07/07/21 Page 6 of 8 Page ID #:6



 1                            FORFEITURE ALLEGATION ONE

 2             [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of defendant CHRISTOPHER JOHN

 8   BADSEY’s conviction of any of the offenses set forth in Counts One

 9   through Four of this Indictment.

10        2.    Defendant BADSEY, if so convicted, shall forfeit to the

11   United States of America the following:

12              (a)   All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to any such offense; and

15              (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18        3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c),

20   defendant BADSEY, if so convicted, shall forfeit substitute property,

21   up to the value of the property described in the preceding paragraph

22   if, as the result of any act or omission of defendant BADSEY, the

23   property described in the preceding paragraph or any portion thereof:

24   (a) cannot be located upon the exercise of due diligence; (b) has

25   been transferred, sold to, or deposited with a third party; (c) has

26   been placed beyond the jurisdiction of the court; (d) has been

27   substantially diminished in value; or (e) has been commingled with

28   other property that cannot be divided without difficulty.

                                             6
       Case 8:21-cr-00124-JLS Document 1 Filed 07/07/21 Page 7 of 8 Page ID #:7



 1                            FORFEITURE ALLEGATION TWO

 2                                 [18 U.S.C. § 982]

 3        1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Section 982(a)(1), in the event of defendant CHRISTOPHER

 7   JOHN BADSEY’s conviction of any of the offenses set forth in Counts

 8   Five and Six of this Indictment.

 9        2.    Defendant BADSEY, if so convicted, shall forfeit to the

10   United States of America the following:

11              (a)   Any property, real or personal, involved in any such

12   offense, and any property traceable to such property; and

13              (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16        3.    Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 18, United States Code, Section 982(b)(1),

18   and Title 18, United States Code, Section 982(b)(2), defendant

19   BADSEY, if so convicted, shall forfeit substitute property, if, by

20   any act or omission of defendant BADSEY, the property described in

21   the preceding paragraph, or any portion thereof: (a) cannot be

22   located upon the exercise of due diligence; (b) has been transferred,

23   sold to, or deposited with a third party; (c) has been placed beyond

24   the jurisdiction of the court; (d) has been substantially diminished

25   in value; or (e) has been commingled with other property that cannot

26   be divided without difficulty.       Substitution of assets shall not be

27   ordered, however, where the convicted defendant acted merely as an

28   intermediary who handled but did not retain the property in the

                                             7
Case 8:21-cr-00124-JLS Document 1 Filed 07/07/21 Page 8 of 8 Page ID #:8
